Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 1 of 34 PageID #: 241




                     EXHIBIT A
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 2 of 34 PageID #: 242
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 3 of 34 PageID #: 243
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 4 of 34 PageID #: 244
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 5 of 34 PageID #: 245
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 6 of 34 PageID #: 246
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 7 of 34 PageID #: 247
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 8 of 34 PageID #: 248
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 9 of 34 PageID #: 249
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 10 of 34 PageID #: 250
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 11 of 34 PageID #: 251
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 12 of 34 PageID #: 252
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 13 of 34 PageID #: 253




                     EXHIBIT B
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 14 of 34 PageID #: 254
MANDATE
   Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 15 of 34 PageID #: 255



     16-2439-cv
     Lambe v. Atlas Solar Holdings LLC.

                                    UNITED STATES COURT OF APPEALS
                                        FOR THE SECOND CIRCUIT

                                                SUMMARY ORDER

     RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO A
     SUMMARY ORDER FILED ON OR AFTER JANUARY 1, 2007, IS PERMITTED AND IS GOVERNED
     BY FEDERAL RULE OF APPELLATE PROCEDURE 32.1 AND THIS COURT’S LOCAL RULE 32.1.1.
     WHEN CITING A SUMMARY ORDER IN A DOCUMENT FILED WITH THIS COURT, A PARTY
     MUST CITE EITHER THE FEDERAL APPENDIX OR AN ELECTRONIC DATABASE (WITH THE
     NOTATION “SUMMARY ORDER”). A PARTY CITING A SUMMARY ORDER MUST SERVE A COPY
     OF IT ON ANY PARTY NOT REPRESENTED BY COUNSEL.



             At a stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York on the
     1st day of September, two thousand seventeen.

     Present:    JON O. NEWMAN,
                 ROSEMARY S. POOLER,
                 PETER W. HALL,
                             Circuit Judges.
     _____________________________________________________

     TROY LAMBE, SUNRAY SOLAR INC., MAX
     DIVERSIFIED INC.,

                               Plaintiffs-Counter-Defendants-Appellees,

                               v.                                                    16-2439-cv

     ATLAS SOLAR HOLDINGS, LLC, YOSSEF KAHLON,
     AKA JOSSEF KAHLON,

                       Defendants-Counter-Claimants-Appellants.
     _____________________________________________________

     Appearing for Appellants:            Kathyrn C. Cole, Farrell Fritz, P.C.(James M. Wicks, Sarah M.
                                          Baird, on the brief), Uniondale, NY

     Appearing for Appellees:             Paul W. Verner, Verner Simon, New York, NY.

     Appeal from the United States District Court for the Eastern District of New York (Wexler, J.).




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MANDATE ISSUED ON 09/22/2017
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 16 of 34 PageID #: 256




       ON CONSIDERATION WHEREOF, IT IS HEREBY ORDERED, ADJUDGED,
  AND DECREED that the judgment of said District Court be and it hereby is AFFIRMED.

          Atlas Solar Holdings, LLC and Yossef Kahlon (together, the “Kahlon Defendants”)
  appeal from (1) the February 2, 2016 judgment in favor of plaintiffs Troy Lambe, Sunray Solar
  Inc., and Max Diversified Inc. (together, “Plaintiffs”) entered in the United States District Court
  for the Eastern District of New York (Wexler, J.); (2) the January 29, 2016 order granting
  Plaintiffs’ motion for a directed verdict on the Kahlon Defendants’ counterclaim for fraud; and
  (3) the July 1, 2016 order denying the Kahlon Defendants’ motion to amend the judgment. We
  assume the parties’ familiarity with the underlying facts, procedural history, and specification of
  issues for review.

          The Kahlon Defendants argue that the district court exceeded its discretion in not
  allowing them to seek a post-judgment setoff against the jury award pursuant to New York
  General Obligations Law § 15-108. We disagree. “[T]he New York Court of Appeals warned
  that ‘as an affirmative defense, General Obligations Law § 15–108(a) must be pled by a
  tortfeasor seeking its protection.’” Schipani v. McLeod, 541 F.3d 158, 161 (2d Cir. 2008) (citing
  Whalen v. Kawasaki Motors Corp., U.S.A., 92 N.Y.2d 288, 292 (1998)). A party may move “at
  any point before final judgment is entered” to amend its answer to assert a setoff pursuant to
  Section 15-108. Id. at 159.

         The Kahlon Defendants argue amendment of their answer was unnecessary because their
  answer already pled a setoff as an affirmative defense. Their answer pled, in relevant part, that:

                  The relief sought by Plaintiff against Defendants, if any be found,
                  must be set off, reduced, abated and/or apportioned to the extent
                  that Plaintiff’s actions or omissions or bad faith caused or
                  contributed to the damages and/or to the extent that Plaintiff’s
                  actions and/or omissions caused damage to Defendants.

  App’x at 142.

          This pleading is inadequate because the setoff it describes was to occur “to the extent that
  Plaintiff’s actions or omissions or bad faith caused or contributed to the damages . . . .” A plain
  reading of the defense, as pled, means any award to the Plaintiffs must be decreased to the extent
  that the Plaintiffs caused or contributed to the damages. The answer does not satisfy New York’s
  requirement that a Section 15-108 setoff be pled as an affirmative defense.

          The district court did not exceed its discretion in denying the motion to amend post-
  judgment. “When the moving party has had an opportunity to assert the amendment earlier, but
  has waited until after judgment before requesting leave, a court may exercise its discretion more
  exactingly.” State Trading Corp. of India, Ltd. v. Assuranceforeningen Skuld, 921 F.2d 409, 418
  (2d Cir. 1990).

        Moreover, the Kahlon Defendants failed to properly preserve this issue for appeal. The
  Kahlon Defendants make their argument regarding the district court’s denial of its motion to


                                                   2
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 17 of 34 PageID #: 257




  amend in a footnote in their opening brief. Appellants’ Br. at 36 n. 13. “We do not consider an
  argument mentioned only in a footnote to be adequately raised or preserved for appellate
  review.” United States v. Restrepo, 986 F.2d 1462, 1463 (2d Cir. 1993). In their reply brief, the
  Kahlon Defendants reverse their position by stating in a footnote that they are not seeking to
  amend the answer. Appellants’ Reply Br. at 7 n.5 (“we do not seek to amend our Answer.”).

         We have considered the remainder of the Kahlon Defendants’ arguments and find them
  to be without merit. Accordingly, the judgment of the district court hereby is AFFIRMED.


                                                       FOR THE COURT:
                                                       Catherine O’Hagan Wolfe, Clerk




                                                   3
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 18 of 34 PageID #: 258




                      EXHIBIT C
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 19 of 34 PageID #: 259
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 20 of 34 PageID #: 260




                     EXHIBIT D
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 21 of 34 PageID #: 261
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 22 of 34 PageID #: 262
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 23 of 34 PageID #: 263
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 24 of 34 PageID #: 264
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 25 of 34 PageID #: 265
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 26 of 34 PageID #: 266
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 27 of 34 PageID #: 267
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 28 of 34 PageID #: 268
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 29 of 34 PageID #: 269
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 30 of 34 PageID #: 270
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 31 of 34 PageID #: 271
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 32 of 34 PageID #: 272
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 33 of 34 PageID #: 273
Case 2:24-cv-03552-RER-SIL Document 23-2 Filed 10/08/24 Page 34 of 34 PageID #: 274
